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                     IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT
                          IN AND FOR MIAMI DADE COUNTY, FLORIDA

                                                            CASE NO.:

        WATh1CHUI & MEE NGAN MUT

               Plaintiff(s),

        V.


        SCOTTSDALE INSURANCE COMPANY,

               Defendant.


                                                  COMPLAINT

               COME(S) NOW, the Plaintiff(s), WAINCHUI & MEE NGAN MUI, by and through
        the undersigned counsel, and hereby sues the Defendant, SCOTTSDALE INSURANCE
        COMPANY, for damages and in support thereof alleges as follows:


                                        JURISDICTION AND PARTIES

               This is an action for damages under an insurance policy resulting from loss of property for

        a total of more than $50,000.00, exclusive of costs, interest and attorney's fees.

        2.     At all times material hereto, the Plaintiff(s) were and are a resident of the county of this

        Court and is otherwise suijuris.

               At all times material hereto, Defendant was and is an insurance company doing and/or

        transacting business in the county of this Court.

        4.     At all times material hereto, Defendant was and is authorized by the Florida Department

        of Financial Services to issue property insurance policies in Florida.




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                                      COMMON ALLEGATIONS

   5.      Plaintiff(s) purchased from Defendant and maintained in full force and effect, by and

   through the payments of premiums, a certain homeowner's insurance policy bearing policy number

   CPS743 8549. (the "Policy")

   6.      Plaintiff(s) do not have a true and complete copy of the Policy, but Defendant does have a

   true and correct copy of the Policy. Plaintiff(s) reserve the right to supplement this Complaint by

   filing a true and correct copy of the Policy upon receipt from Defendant pursuant to the discovery

   filed in this action.

   7.      Such Policy was issued by the Defendant to the Plaintiff(s) and provided insurance

   coverage for the Plaintiff(s)' dwelling located at 4140 E 4TH Avenue Hialeah, FL 33013

   (hereinafter the "Premises")

   8.      Pursuant to the Policy provisions, Defendant insured, subject to certain exclusions and

   conditions, the Plaintiff(s)' property located at the Premises.

   9.      On or about 4/12/2023, water damage loss caused substantial damage to the Plaintiff(s)'

   property which was covered under a policy of insurance issued by the Defendant which was at the

   time of the loss in full force and effect (hereinafter the "Loss")

   10.     Plaintiff(s) timely filed a notice of the Loss to the Defendant and has otherwise performed

   all conditions precedent to recover under the Policy and under the applicable Florida Statutes.

   11.     Defendant, despite having received and processed such claim, continues to refuse to pay

   the full amount of Plaintiff(s)' claim.

   12.     The Defendant has failed to timely evaluate and pay the full amount of Policy benefits

   owed to the Plaintiff(s) under the terms of the Policy.




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   13.    The Plaintiff(s), as a result of Defendant's failure to comply with the terms of the policy

   have suffered damages to the Premises.

   14.    Plaintiff(s) have performed all conditions precedent to filing this action and/or any and all

   conditions precedent have been otherwise met or waived.

   15.    Plaintiff(s) have complied with all post loss obligations set forth in the insurance policy as

   requested by Defendant.

   16.    Plaintiff(s), as a result of Defendant's refusal to honor the contractual obligations contained

   in the Policy, have been forced to retain the legal services of Levin Litigation, PLLC for the

   purposes of prosecuting the instant matter and such attorneys are entitled to a reasonable attorney's

   fees pursuant to §627.70152, 627.428 and/or §626.9373, 57.041, 57.104, Florida Statutes.

                                           COUNT I
                                      BREACH OF CONTRACT

   17.    Plaintiff(s) re-allege and re-assert the aforesaid Common Allegations and incorporates

   them herein.

   18.    The Defendant's refusal to pay the full amount of the claim was contrary to the terms of

   the Policy and/or Florida law, and was a breach of said contract of insurance.

   19.    As a direct and proximate cause of the Defendant's acts and/or omissions, Plaintiff(s) have

   been damaged in the amount to be determined at trial.

   20.    That as a direct and proximate cause of the Defendant's refusal to pay the full amount of

   the Plaintiff(s)' claim, the Plaintiff(s) have been required to retain the legal services of Levin

   Litigation, PLLC for the purposes of prosecuting the instant matter and such attorneys are entitled

   to a reasonable attorney's fees pursuant to §62770152, 627.428 and/or §626.9373, 57.041,

   57.104, Florida Statutes.




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   WHEREFORE, the Plaintiff(s) demand judgment against the Defendant, Scottsdale Insurance

   Company- for damages, including, but not limited to, damage to the Premises, its contents, loss of

   use, costs, interest as allowed bylaw, reasonable attorney's fees pursuant to §627.70152, 627.428

   and/or §626.9373, 57.041, 57.104, Florida Statutes, a trial by jury of all issues triable as a matter

   of right by jury and such other relief as this Court deems just and proper.

          DATED: August 28, 2023.


                                                         Respectfully submitted,

                                                         By: /s Nadia Douglas
                                                             Nadia Douglas, Esq.
                                                             Florida Bar No.: 1017075
                                                             Levin Litigation, PLLC
                                                             Counselfor Plaintiff
                                                             6100 Hollywood Blvd. Suite 520
                                                             Hollywood, FL 33024
                                                             (954) 678-5155 Telephone
                                                                                 -



                                                             (954) 678-5156 Facsimile
                                                                                 -



                                                            nadia@levinlitigation.com E-Mail
                                                            service-teaamO8@levinlitigation.com     -



                                                         E-Service




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                                                                                                  *23000543297*

 CHIEF FINANCIAL OFFICER
 JIMMY PATRONIS
     S rAIE Of FLORIDA




                                                                       CASE #:    2023-107662-CC-21
WAINCHUI & MEE NGAN MUI
                                                                       COURT:     11TH JUDICIAL CIRCUIT
                                                                       COUNTY:    MIAMI-DADE
PLAINTIFF(S)                                                           DFS-SOP #: 23-000543297

VS

SCOTTSDALE INSURANCE COMPANY

DEFENDANT(S)

SUMMONS, COMPLAINT, DISCOVERY, NOA NADIA DOUGLAS, JUDICIAL NOTICE, UNIFORM CASE
MANAGEMENT ORDER




                                 NOTICE OF SERVICE OF PROCESS
NOTICE IS HEREBY GIVEN of acceptance of Service of Process by the Chief Financial Officer
of the State of Florida. Said process was received in my office by ELECTRONIC DELIVERY on
Monday, November 6, 2023 and a copy was forwarded by ELECTRONIC DELIVERY on
Wednesday, November 8, 2023 to the designated agent for the named entity as shown below.


           SCOTTSDALE INSURANCE COMPANY
           LYNETTE COLEMAN
           1201 HAYS STREET
           TALLAHASSEE, FL 32301




*Our office will only serve the initial process (Summons and Complaint) or Subpoena and is not
responsible for transmittal of any subsequent filings, pleadings, or documents unless otherwise
ordered by the Court pursuant to Florida Rules of Civil Procedure, Rule 1.080.




                                                                            Jimmy Patronis
                                                                            Chief Financial Officer




YITZHAK LEVIN
LEVIN LITIGATION, PLLC
3100 N. 29Th COURT, SUITE 100
3100 N. 29Th COURT
HOLLYWOOD, FL 33020                                                                                     AJ1




                                       Office of the General Counsel Service of Process Section
                                                                   -



                           200 East Gaines Street P.O. Box 6200- Tallahassee, FL 32314-6200 (850)413-4200
                                                -                                            -
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          IN THE COUNTY COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND
          FOR MIAMI-DADE COUNTY, FLORIDA
          COUNTY CIVIL DIVISION

          CASE NO.: 2023407662CC21
          SECTION: CGO3
          Wainchui Mui et a!
          Plaintiff(s),

          VS.

          Scottsdale Insurance Company
          Defendant(s)



          UNIFORM CASE MANAGEMENT ORDER SETTING PRETRIAL DEADLINES AND
              RELATED REQUIREMENTS (GENERAL PATHWAY COUNTY CIVIL                -



                               PROCEDURE CASES)

         PLAINTIFF SHALL SERVE THIS ORDER UPON A DEFENDANT WITHIN 10 DAYS OF
         ANY FILING BY THAT DEFENDANT.

         ALL PARTIES MUST READ CAREFULLY AS STRICT COMPLIANCE IS MANDATORY.

         In compliance with the mandatory requirements of governing Administrative Orders regarding
         case management, the Court hereby ORDERS as follows:

           Attorneys are professionally obligated to diligently litigate the case so litigation can conclude
           as soon as it is reasonably and justly possible. See Florida Rule of General Practice and
           Judicial Administration 2.545. The specific pretrial deadlines and requirements set forth
           herein shall be strictly enforced by the Court. Non-compliance with any part of this Order
           may result in sanctions including, but not limited to, striking of pleadings, monetary
           sanctions, waiver and/or default. It is on the parties to promptly and timely schedule hearings
           on filed motions.
         2. The deadlines contained in this Order cannot be waived or extended by stipulation of the
            parties and remain in effect unless the Court grants an enlargement. A motion seeking an
            enlargement of a particular deadline shall specify detailed reasons for the enlargement and
            the amount of time requested.
         3. In the event parties are unable to coordinate any non-dispositive and non-evidentiary hearing,
            deposition, or motion within a reasonable period of time (not less than 72 hours) and after 3
            documented attempts, the moving party shall unilaterally set the issue for hearing pursuant to
            divisional instructions to occur no less than 14 days and no more than 45 days after the third
            attempt.
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    4. SETTLEMENT: Counsel shall immediately notify the Court in the event of settlement and
       submit a Stipulation of Settlement and Order of Dismissal. Counsel shall also notify the
       Court of any pending hearings that will be cancelled as a result of the settlement.

    5. SERVICE: Plaintiffs shall serve their actions promptly by             12-25-2023          and in
       compliance with Florida Rule of Civil Procedure 1.070. Service issues shall be addressed
       promptly and with diligence. No extensions pursuant to Florida Rule of Civil Procedure 1.070
       shall be granted without specific proof of diligent effort to effect service and a written
       explanation of what efforts the Plaintiff intends to pursue to effect service successfully, with
       proposed deadlines. No extension to serve a defendant beyond               03-25-2024
       shall be allowed.

    6. The following litigation deadlines are set:

          a. ADDITION OF ANY NEW PARTIES shall occur by                       02-23-2024
          b. FACT WITNESS LIST shall be filed by                06-23-2024           The fact witnesses
                                                                                     .



             shall be in alphabetical order and contain the names and addresses of all non-expert
             witnesses. Only those witnesses listed shall be permitted to testify without leave of
             Court. All witness lists shall include a brief description of the substance and scope of
             the testimony to be elicited. Within 30 days of discovering previously unknown
             witnesses, either party may seek leave of Court to amend their submissions,
             disclosures, or discovery obligations.
          c. EXHIBIT LIST shall be filed by             06-23-2024        .   The Exhibit List shall
             disclose a list of all documentary and physical evidence intended to be used at trial.
             Each item shall be specifically described and listed by number and description. Generic
             descriptions of exhibits are subject to being stricken. All listed exhibits shall have been
             made available to opposing counsel for examination, initialing, and copying. Parties
             shall timely amend their exhibit list.
          d. EXPERT WITNESSES shall be disclosed by                 08-22-2024            with the names
             and addresses of all the expert witnesses to be called at trial and all information
             regarding expert testimony that is required by Rule 1 .280(b)(5)(A). This includes
             disclosing the expert's area of expertise and serving a copy of each expert's reports or
             answers to expert interrogatories, if a report was prepared and/or expert interrogatories
             propounded. Each party is limited to one expert per specialty. No other expert
             testimony shall be permitted at trial.
          e. FACT AND EXPERT DISCOVERY, including all inspections, depositions, and
             examinations, shall be completed no later than         01-18-2025           Written
                                                                                           .



             discovery shall be served no later than        12-14-2024           The parties shall
                                                                                 .



             timely coordinate the scheduling and setting of depositions for all witnesses and/or
             parties they intend to depose.
          f. MOTIONS FOR SUMMARY JUDGMENT and DAUBERT MOTIONS shall be filed
             by     10-21-2024  and heard no later than 01-18-2025
          g. OBJECTIONS TO PLEADINGS AND ALL OTHER PRETRIAL MOTIONS, except
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             for motions in limine, shall be filed by         11-19-2024       and heard no later
             than          01-18-2025         .Any motion not filed and heard prior to the expiration
             of this deadline may be deemed waived or denied absent extraordinary circumstances
             which could not have been prudently anticipated, or by order of the Court entered
             prior to the expiration of the applicable time limitation.
          h. MEDIATION: Parties are hereby referred to mandatory mediation, which shall be
             completed no later than          01-18-2025          The parties shall comply with
                                                                   .



             Florida Rules Civil Procedure 1700, 1.710, 1.720, 1.730, and 1.750 as to the conduct
             of mediation. Plaintiffs counsel is appointed lead counsel to facilitate, mutually
             coordinate and schedule the mediation conference. Costs of mediation shall be borne
             equally by both parties. Failure to mediate in good faith may result in the imposition of
             monetary sanctions.

    7. TRIAL: The projected date of trial is            02-17-2025        . A firm trial date will be
       ordered by the Court when the case is at issue pursuant to Florida Rule of Civil Procedure
       1.440. The parties shall do all things reasonable and necessary to assure the availability of
       their witnesses for the entire trial period or to otherwise preserve their testimony for trial as
       provided by the Florida Rules of Civil Procedure. Failure to do so will not be grounds for a
       continuance.
    8. JOINT PRETRIAL STIPULATION: A Joint Pretrial Stipulation shall be filed by all parties
       (via counsel of record) no later than           01-18-2025         All parties shall cooperate in
       good faith in preparation of the Joint Pretrial Stipulation. Unilateral pretrial stipulations will
       not be accepted. The single, unified submission shall contain the following information in
       separately numbered paragraphs or sections:

          a. Stipulated Statement of Facts: A list of those facts that can be stipulated to and require
             no proof at the trial, together with a concise, impartial statement of the facts of the
             case.
          b. Statements of Disputed Law & Fact: Those issues of law and fact that are to be tried.
             Witness Lists: Parties shall attach the witness lists filed consistent with Paragraph 6b.
             and 6d. of this Order, including all rebuttal or impeachment witnesses. If any party
             objects to any witness, such objections shall be stated in the Stipulation, setting forth
             the grounds with specificity. At trial, all parties shall be strictly limited to witnesses
             properly and timely disclosed.
          d. Exhibit Lists: Counsel shall initial each other party's exhibit list and exhibits
             consistent with Paragraph 6c. of this Order. If any party objects to the introduction of
             any such exhibit, such objection shall be stated in the Stipulation, setting forth the
             grounds with specificity. Parties shall attach the final, initialed exhibit lists with
             objections. Only those exhibits listed and initialed may be offered in evidence.
             Jury Instructions: If the trial is a jury trial, counsel shall identify and attach all agreed
             upon standard instructions and all special instructions. Any disputed jury instructions
             shall be attached and identified as to the party that proposed the instruction, along with
             copies of supporting case law.
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         f Verdict Forms: If the trial is a jury trial, the proposed jury verdict forms shall be
           attached and designated as agreed to or disputed.
        g. Motions in Limine: Each party shall make any anticipated motion(s) in limine
           indicating all stipulations/agreed items and any motion(s) in limine requiring a Court
           ruling.
        h. Trial Estimate: Each party shall provide an estimate of the number of days for trial.
         i. Daubert issues: All Daubert issues involving any requests for Daubert-related
            evidence shall be in writing. Failure to do so shall constitute a waiver of any Daubert-
            related evidence issue.
         j. Other issues: The parties shall list any other issue that could potentially take up
            unnecessary time during the trial to facilitate the resolution of those matters prior to the
            trial date.




           DONE AND ORDERED in Chambers, at Miami-Dade County, Florida, on this
      3rd day of September, 2023




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                                              Patricia Marino Pedraza
                                              COUNTY COURT JUDGE
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    Copies Furnished to:
   Electronically Served

   Yitzhak Levin, ylevin@ levinlitigation.com
   Yitzhak Levin, service@ levinlitigation.com
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                     IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT IN
                                 AND FOR MIAMI DADE FLORIDA

                                                                       CASE NO:

        WAINCHUI & MEE NGAN MUI

               Plaintiff(s),

        V.


        SCOTTSDALE INSURANCE COMPANY
             Defendant.
                                                     I

        NOTICE OF APPEARANCE, CHANGE OF FIRM ADDRESS AND DESIGNATION OF
                                    E-MAIL

               PLEASE NOTE the appearance of NADIA DOUGLAS Esquire, as counsel for the

        Plaintiff's in the above-styled cause, and requests that any and all pleadings or other matters

        pertaining to this cause be directed to him on behalf of the said Plaintiffs at the designated email

        address below. Furthermore, please note the new firm address as noted in the undersigned

        signature.

                                      Primary: service(levinlitigation. com
                                   Service: service-team08(levinlitigation.com

                                        CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that a true and correct copy of the above and foregoing has been

        sent via e-Portal to on August 28, 2023.

                                                      Respectfully submitted,

                                                      INadia Douglas
                                                      Nadia Douglas Esq.
                                                      Florida BarNo: 1017075
                                                      Levin Litigation, PLLC
                                                      Counselfor Plain tiff
                                                      6100 Hollywood Blvd. Suite 520
                                                      Hollywood, FL 33024
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                                      T: (954) 678-5155
                                      F: (954) 678-5156
                                      Correspondence: nadia@levinlitigation.com
                                      Service: service-tearnO8(1evin1itigation.corn
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